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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION
JIMMY LEE EVERETT,                     )



                                       )



       Movant,                         )



                                       )



LI,                                    )
                                                          CV4 11-150
                                       )
                                                          CR408-063
UNITED STATES OF AMERICA,              )
                                                          CR(307-031
                                       )



       Respondent.                     )




                     REPORT AND RECOMMENDATION

       This Court sentenced Jimmy Lee Everett to 110 months'

imprisonment for (1) trafficking in vehicles with altered identification

numbers and (2) bank fraud related to his embezzlement of funds from

his employer.         See CR607-031, doe. 682 (judgment imposing 108

months' imprisonment, to be served concurrently); CR608-063, doe. 33

(judgment imposing 110 months' imprisonment, to be served

concurrently). After an unsuccessful appeal of his sentence,                United

States v. Everett, 368 F. App'x 952 (11th Cir. 2010), he again challenged

his sentence by filing a 28 U.S.C. § 2255 motion. Doe. 1.1 He raised



1
 Unless otherwise noted, citations are to the docket in Everett's civil case, CV411-
150. Additionally, page references are to the CMJECF screen page, rather than the
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four grounds for relief, based on ineffective assistance of counsel and

the Supreme Court's ruling in Alleyne v. United States, 570 U.S. -, 133

S. Ct. 2151 (2013). 2 See doe. 1. Upon initial review, the Court found

that all but the fourth ground -- ineffective assistance of counsel at

sentencing -- were meritless. Doe. 17. After an evidentiary hearing

where he was represented by Court-appointed counsel, doe. 41, the

Court denied Everett's § 2255 motion, granted the Government's motion

to dismiss, and entered judgment against him. Does. 47, 50, 51.

      Seven months later, the Eleventh Circuit received and denied

Everett's emergency application for leave to file a successive § 2255

motion. See attached. The panel rejected the application on the merits,

noting that relief was unavailable because the Supreme Court has not

made the Alleyne decision retroactive to cases on collateral review. Id.

      Despite those rulings, Everett moves to amend his § 2255 motion.

Doe. 55. But there is nothing to amend.           See Burns v. United States,

152 Fed. Appx. 887, 890 (11th Cir. 2005) ("Burns's original motion.



referenced document's own internal pagination.
2
  In Alleyne, the Supreme Court overruled Harris v. United States, 536 U.S. 545
(2002), and held that any fact increasing a mandatory minimum sentence for a crime
is an "element" of the crime rather than a "sentencing factor," and must be
submitted to a jury.
                                           2
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was denied by the district court, and subsequently denied by this Court,

rendering his case closed and not properly subject to amendment."). His

attempt at amendment to add new claims and reargue old claims on

their merits, therefore, must be construed as a second or successive

§ 2255 motion. And without the Eleventh Circuit's authorization to

hear it, this Court lacks jurisdiction to consider any subsequent § 2255

motion. Farris v. United States, 333 F.3d 1211, 1216 (11th Cir. 2003).

     Further, even if Everett could proceed, his arguments fail on the

merits.   Alleyne does not apply retroactively on collateral review,

Chester v. Warden, 552 F. App'x 887, 891 (11th Cir. 2014, and does not

apply to enhancements based on the advisory Sentencing Guidelines,

see Alleyne, 133 S. Ct. at 2163 ("Our holding today does not mean that

any fact that influences judicial discretion must be found by a jury. We

have long recognized that broad sentencing discretion, informed by

judicial factfinding, does not violate the Sixth Amendment.");     United

States v. Rivera, 558 F. App'x 971, 976 (11th Cir. 2014) ("Because the

enhancement applied to Rivera only affected her Sentencing Guidelines

range, not her statutory mandatory minimum or maximum, her

reliance on Alleyne is misplaced.").

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     In sum, Everett's motion for leave to file a 28 U.S.C. § 2255

petition, doe. 52, and motion to amend his § 2255 motion, doe. 55,

should be DENIED.

     This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this Court's Local Rule 72.3. Within 14 days of

service, any party may file written objections to this R&R with the

Court and serve a copy on all parties. The document should be

captioned "Objections to Magistrate Judge's Report and

Recommendations." Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge's findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. VA. Leasing Corp.,

648 F. App'x 787, 790 (11th Cir. 2016); Mitchell v. Us., 612 F. App'x

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542, 545 (11th Cir. 2015).

     SO REPORTED AND RECOMMENDED, this 3rd day of

November, 2016.



                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
